

People v Ojofeitimi (2024 NY Slip Op 00600)





People v Ojofeitimi


2024 NY Slip Op 00600


Decided on February 06, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 06, 2024

Before: Singh, J.P., Moulton, Gesmer, Mendez, Rodriguez, JJ. 


Ind. No. 2843/15 Appeal No. 1598 Case No. 2017-2963 

[*1]The People of the State of New York, Respondent,
vAbram Ojofeitimi, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Laura Boyd of counsel), for appellant.



Judgment, Supreme Court, New York County (Michael Obus, J., at plea; Mark Dwyer, J., at sentencing), rendered March 7, 2017, convicting defendant, upon his plea of guilty, of identity theft in the first degree, and sentencing him to five years' probation, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the surcharge and fees imposed at sentencing, and otherwise affirmed.
Based on our own interest of justice powers, we vacate the surcharge and fees imposed on defendant at sentencing (see People v Chirinos, 190 AD3d 434 [1st
Dept 2021]). We note that the People do not oppose this relief.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 6, 2024








